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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MORGAN ART FOUNDATION LIMITED,

                Plaintiff,                       Case No. 18-cv-4438 (JLR) (BCM)

- against -
                                                 [PROPOSED] ORDER CONFIRMING
MICHAEL McKENZIE, d/b/a AMERICAN                 FINAL ARBITRATION AWARD AND
IMAGE ART, et al.,                               ENTERING FINAL ORDER AND
                                                 JUDGMENT
                Defendants.


         WHEREAS, on October 9, 2018, this Court issued an order granting the Motion filed by

then Crossclaim-Defendant James W. Brannan (now Nathaniel S. Putman as his successor) as

Personal Representative of the Estate of Robert Indiana (the “Estate”) to compel arbitration of

the claims of Cross-Claimants Michael McKenzie d/b/a American Image Art (together,

“McKenzie”), staying McKenzie’s claims against the Estate pending those proceedings (Dkt. No.

94).

         WHEREAS, after the entry of that Order, the Estate and McKenzie proceeded to

arbitration before the American Arbitration Association (“AAA”), in a proceeding captioned

Brannan v. McKenzie et al., AAA Case No. 01-19-0001-9789 (the “Arbitration”).

         WHEREAS, on September 14, 2021, the AAA Panel in the Arbitration entered the

Interim Award with Injunction (the “Interim Arbitration Award”).

         WHEREAS, on October 15, 2021, the Court entered the Stipulation and Consent Order

Confirming Interim Award and Order Confirming Interim Award and Entering Injunction. (Dkt.

No. 448).

         WHEREAS, on July 14, 2023, the AAA Panel in the Arbitration entered the Final Award.




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       WHEREAS, on August 15, 2023, the Estate filed its Motion to Confirm Final Arbitration

Award With Injunction. (Dkt. No. 507).

       WHEREAS, on August 30, 2023, Crossclaim-Plaintiff McKenzie filed his response to the

Motion to Confirm Final Arbitration Award and stated: “While Mr. McKenzie disagrees with

certain factual findings in the Award, he recognizes the limited grounds available to challenge

the Final Award and does not challenge confirmation.” (Dkt. No. 519).

       WHEREAS, the provisions of the Final Award are set forth on pages 46 through 49 of

the Final Award, which provisions are set forth in Exhibit 1 attached hereto.

       NOW THEREFORE, it is hereby ORDERED as follows:

       1.      The Estate’s Motion to Confirm Final Arbitration Award (Dkt. No. 507) is

GRANTED as to paragraphs 1 through 17 (on pages 46-49) of the Final Award, which portion is

attached hereto as Exhibit 1, and such paragraphs shall have the effect of an order of this Court;

       2.      The Clerk will enter the Final Order and Judgment in this action for Crossclaim-

Defendant Nathaniel S. Putnam as Personal Representative of the Estate of Robert Indiana and

against Crossclaim-Plaintiffs Michael McKenzie and American Image Art as follows:

               1.      It is declared that the following agreements were effectively
               terminated in their entirety as of May 19, 2018: (a) Agreement for Art
               Editions (dated August 11, 2008) (JX-1); (b) Addendum to Hope
               Contract (dated September 28, 2010) (JX-2); (c) Addendum to Hope
               Contract (dated September 1, 2011) (JX-3); (d) Hope Wine (dated
               October 4, 2011) (JX-4); and (e) Addendum to Agreement (dated March
               31, 2012) (JX-5).

               2.       It is declared that any and all oral agreements or understandings
               between the late artist, Robert Indiana (“Indiana”) and Michael
               McKenzie (McKenzie”) and/or between Indiana and McKenzie doing
               business as American Image Art, were effectively terminated in their
               entirety as of May 19, 2018.

               3.       Respondents [Michael McKenzie and American Image Art] shall
               pay to Claimant [the Estate], as proceeds due to the Estate on the sale of
               Artist’s Proofs, the sum of $581,250.00.


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        4.      Respondents [Michael McKenzie and American Image Art] shall
        pay to Claimant [the Estate], for the sale of HOPE Artwork after the
        Estate’s termination of all agreements, the sum of $443,892.00.

        5.      Respondents [Michael McKenzie and American Image Art] shall
        pay to Claimant [the Estate], in satisfaction of royalties due on the sale of
        the BRAT sculpture to Johnsonville Holdings, Inc, the sum of
        $359,465.00.

        6.       It is ordered that, within thirty (30) days of the date of this
        Award [July 14, 2023], McKenzie and American Image Art shall release
        for delivery to UOVO Rockland County - Blauvelt, 100 Bradley Hill
        Road, Blauvelt, NY 10913 (“UOVO”), all Indiana Artwork subject to the
        Interim Award with Injunction entered in this arbitration on September
        14, 2021. Claimant [the Estate] shall be responsible for one hundred
        (100) percent of charges incurred in connection with (a) the transfer of
        the Indiana Artwork to UOVO and (b) all UOVO storage and related
        charges incurred in accordance with this Award.

        7.      The fair market value of the Indiana Artwork delivered to
        UOVO in accordance with this Award shall be determined by one of the
        following three appraisers, selected by the Estate pursuant to the
        following order of priority:

        a.      Sharon Chrust & Associates, LLC, 107 Saddle Rock Road,
        Stamford, CT (“Chrust”). If Chrust does not accept the appointment or
        does not commit in writing to perform in a timely manner and for a
        reasonable fee all services prescribed in this Award for performance by
        an appraiser, then:

        b.      Deborah G. Spanierman, DGS Fine Art Consultants and
        Appraisal Services, Pleasantville, NY. (“Spanierman”). If Spanierman
        does not accept the appointment or does not commit in writing to
        perform in a timely manner and for a reasonable fee all services
        prescribed in this Award for performance by an appraiser, then:

        c.      Helen D. Lally, Helen D. Lally Fine Ats, Ltd. New York, NY.


        Subject to the lien set forth in paragraph 10, below, the appraiser selected
        by the Estate in accordance with this paragraph (the “Appraiser”), in
        addition to performing a market appraisal of all Indiana Artwork, shall
        divide the Indiana Artwork between Claimant [the Estate] and
        Respondents [Michael McKenzie and American Image Art] based on the
        appraised market value of such work of art, as follows: (i) for all artwork
        marked as Artist’s Proofs, one hundred (100) percent to Claimant [the
        Estate]; (ii) for all other sculptures, thirty (30) percent allocated to
        Claimant and seventy (70) percent allocated to Respondents [Michael
        McKenzie and American Image Art]; (iii) for all other artwork in any
        medium other than sculpture, fifty (50) percent allocated to Claimant [the


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        Estate] and fifty (50) percent allocated to Respondents [Michael
        McKenzie and American Image Art].

        8.      The Appraiser shall have broad discretion in the performance of
        the Appraiser’s duties set forth in this Award in accordance with industry
        practice. The Appraiser’s discretion shall extend to selling a limited
        number of Indiana Artworks within each category (sculpture and non-
        sculpture) and distributing the proceeds of sale to the Parties, as the
        Appraiser may reasonably deem necessary to achieve, after the payment
        of standard sales commissions (if any), a distribution of value between
        Claimant [the Estate] and Respondents [Michael McKenzie and
        American Image Art] according to this Final Award.

        9.       Claimant [the Estate] and Respondents [Michael McKenzie and
        American Image Art] are hereby declared to be jointly and severally
        liable to indemnify the Appraiser for any and all legal expenses including
        counsel fees, damages, or other liability or expenses arising from or
        relating to the performance of the Appraiser’s duties as set forth in this
        Award.

        10.     It is declared that: (a) Claimant [the Estate] has a lien interest in
        the Indiana Artwork allocated to Respondents [Michael McKenzie and
        American Image Art] by the Appraiser, and (b) the Appraiser shall retain
        and hold the Indiana Artwork allocated to Respondents [Michael
        McKenzie and American Image Art] until Respondents [Michael
        McKenzie and American Image Art] pay to Claimant [the Estate] the
        sum of $1,384,607.00 (the “Monetary Award”), and the Appraiser
        receives written confirmation from Claimant [the Estate] of its receipt of
        such payment in full. If Respondent fails to pay the Monetary Award
        within 60 days of this Award, thereafter the Appraiser shall cause to be
        delivered to Claimant [the Estate], from Indiana Artwork that the
        Appraiser otherwise would allocate to Respondents [Michael McKenzie
        and American Image Art], Indiana Artwork that corresponds in appraised
        value to $1,500,000.00 minus any partial payments received by
        Claimants [the Estate] from Respondents [Michael McKenzie and
        American Image Art] on account of the Monetary Award.

        11.      UOVO shall release the Indiana Artwork in accordance with the
        written instructions of the Appraiser.

        12.    It is declared that, henceforth and in perpetuity, McKenzie and
        American Image Art shall have no right in law or in equity to produce,
        manufacture, or create any Indiana Artwork.

        13.     It is declared that, on or after the date of this Award, McKenzie
        and American Image Art shall not sell, gift, transfer, or in any way deal
        in any Indiana Artwork, with the exception of: (a) Indiana Artwork
        released to Respondents [Michael McKenzie and American Image Art]
        pursuant to the Appraiser’s instructions and this Award, and (b) Indiana
        Artwork documented as having been purchased by Respondents


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               [Michael McKenzie and American Image Art] in arm’s length
               transactions completed prior to the death of Indiana.

               14.     It is declared that neither Claimant [the Estate] nor Respondents
               [Michael McKenzie and American Image Art] have substantially
               prevailed in their respective claims, defenses, or counterclaims, and that
               each Party shall be responsible for its attorneys’ fees and expenses as
               incurred.

               15.      The administrative fees of the American Arbitration Association
               totaling $47,570.00 and the compensation of the Arbitrators totaling
               $547,915.75 shall be borne fifty (50) percent by Claimant [the Estate]
               and fifty (50) percent by Respondents [Michael McKenzie and American
               Image Art]. Therefore, Respondents [Michael McKenzie and American
               Image Art] shall reimburse Claimant [the Estate] the sum of
               $283,097.88.

               16.     This Award is in full settlement of all remaining claims and
               counterclaims submitted in this arbitration. All claims or counterclaims
               not expressly granted herein are denied.

               17.     This Award may be executed in any number of counterparts,
               each of which shall be deemed an original, and all of which shall
               constitute together one and the same instrument.


       3.       The Stipulation and Consent Order Confirming Interim Award and Entering

Injunction (Dkt. No. 448) is vacated and replaced by this Final Order and Judgment.
         4.     That portion of the Order of Reference (ECF No. 510) referring this specific motion to
Magistrate Judge Moses is withdrawn; the Order of Reference otherwise remains in effect, including
as to all General Pretrial Purposes and any anticipated summary judgment motions.
                                                      SO ORDERED.


                 5 2023
Dated: September __,
       New York, New York                               The Hon. Jennifer L. Rochon
                                                        United States District Judge


            The Clerk of Court is respectfully directed to terminate ECF No. 507.




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